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                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE NORTHERN DISTRICT OF OHIO

                                       EASTERN DIVISION

  UNITED STATES OF AMERICA,                        )    Case No. 5:12MJ08000
                                                   )
                        Plaintiff,                 )    MAGISTRATE JUDGE
                                                   )    GEORGE J. LIMBERT
                 v.                                )
                                                   )
  RONALD E. LIDDERDALE,                            )    SENTENCING MEMORANDUM
                                                   )
                        Defendant.                 )

         The United States respectfully submits this memorandum for the Court’s consideration in

 imposing sentence in this case. We recommend a sentence that includes a period of incarceration

 in light of the advisory guideline sentencing range, magnitude of the offense, and need for a

 deterrent effect.

         The sentencing range, pursuant to the advisory guidelines, is between 18 to 24 months

 (Level 15), based on a tax loss of $281,341. Given this substantial loss, resulting from Ronald E.

 Lidderdale’s conduct over a period of three years, and the likely visibility of the sentence in
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 Lidderdale’s small community, a sentence of incarceration is warranted even after considering

 the various mitigating circumstances set forth in Lidderdale’s sentencing memorandum.



                                             Respectfully Submitted,

                                             STEVEN M. DETTELBACH
                                             UNITED STATES ATTORNEY

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